Case 1:15-cr-00058-IMK-MJA Document 44 Filed 09/14/15 Page 1 of 4 PageID #: 116



                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                   Plaintiff,

        v.                                 CRIMINAL NO. 1:15CR58
                                                (Judge Keeley)


 RACHEL HELSLEY,

                   Defendant.

              ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
              REPORT RECOMMENDATION CONCERNING PLEA OF GUILTY
             IN FELONY CASE AND SCHEDULING SENTENCING HEARING

        On August 26, 2015, the defendant, Rachel Helsley (“Helsley”),

 appeared before United States Magistrate Judge John S. Kaull and

 moved for permission to enter a plea of GUILTY to Count Three of

 the   Indictment.     Helsley   stated   that   she   understood     that   the

 magistrate judge is not a United States District Judge, and

 consented to pleading before the magistrate judge.           This Court had

 referred the guilty plea to the magistrate judge for the purposes

 of    administering   the   allocution   pursuant     to   Federal   Rule   of

 Criminal Procedure 11, making a finding as to whether the plea was

 knowingly and voluntarily entered, and recommending to this Court

 whether the plea should be accepted.

        Based upon Helsley’s statements during the plea hearing and

 the government’s proffer establishing that an independent factual

 basis for the plea existed, the magistrate judge found that Helsley

 was competent to enter a plea, that the plea was freely and
Case 1:15-cr-00058-IMK-MJA Document 44 Filed 09/14/15 Page 2 of 4 PageID #: 117



 USA v. RACHEL HELSLEY                                              1:15CR58

          ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
         OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
     GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

 voluntarily given, that she was aware of the nature of the charges

 against her and the consequences of her plea, and that a factual

 basis existed for the tendered plea. On August 27, 2015, the

 magistrate judge entered a Report and Recommendation Regarding Plea

 of Guilty in Felony Case (“R&R”) (dkt. no. 40) finding a factual

 basis for the plea and recommended that this Court accept Helsley’s

 plea of guilty to Count Three of the Indictment.

      The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R. The magistrate judge further directed that

 failure to file objections would result in a waiver of the right to

 appeal from a judgment of this Court based on the R&R. The parties

 did not file any objections.

      Accordingly, this Court ADOPTS the magistrate judge’s R&R,

 ACCEPTS Helsley’s guilty plea, and ADJUGES her GUILTY of the crime

 charged in Count Three of the Indictment.

      Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until it

 has received and reviewed the presentence report prepared in this

 matter.



                                      2
Case 1:15-cr-00058-IMK-MJA Document 44 Filed 09/14/15 Page 3 of 4 PageID #: 118



 USA v. RACHEL HELSLEY                                              1:15CR58

            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
           OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
       GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

        Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

 follows:

        1.   The   Probation      Officer    undertake      a   presentence

 investigation of RACHEL HELSLEY, and prepare a presentence report

 for the Court;

        2.   The Government and Helsley are to provide their versions

 of the offense to the probation officer by September 28, 2015;

        3.   The presentence report is to be disclosed to Helsley,

 defense counsel, and the United States on or before November 13,

 2015; however, the Probation Officer is not to disclose the

 sentencing recommendations made pursuant to Fed. R. Crim. P.

 32(e)(3);

        4.   Counsel may file written objections to the presentence

 report on or before November 27, 2015;

        5.   The Office of Probation shall submit the presentence

 report with addendum to the Court on or before December 11, 2015;

 and

        6.   Counsel may file any written sentencing statements and

 motions for departure from the Sentencing Guidelines, including the




                                      3
Case 1:15-cr-00058-IMK-MJA Document 44 Filed 09/14/15 Page 4 of 4 PageID #: 119



 USA v. RACHEL HELSLEY                                                     1:15CR58

          ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
         OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
     GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

 factual    basis    from    the   statements    or    motions,     on   or   before

 December 28, 2016.

      The magistrate judge continued Helsley’s bond pursuant to the

 Order Setting Conditions of Release (dkt. no. 11) entered on

 July 28, 2015 and amended on July 31, 2015 by Order Amending Order

 Setting Conditions of Release (dkt. no. 28).

      The    Court    will    conduct    the    sentencing    hearing      for     the

 defendant    on    Friday,    January    22,   2016    at   1:30   P.M.      at   the

 Clarksburg, West Virginia point of holding court.

      It is so ORDERED.

      The Clerk is directed to transmit copies of this Order to

 counsel of record, the defendant and all appropriate agencies.

 DATED: September 14, 2015


                                        /s/ Irene M. Keeley
                                        IRENE M. KEELEY
                                        UNITED STATES DISTRICT JUDGE




                                          4
